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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 LOUISE BRINSKELLE,

                                Plaintiffs,
                                                                 20cv00316 (DF)
                -against-                                        ORDER OF DISMISSAL
 DIACRON USA, LLC., et al.,

                                Defendants.


DEBRA FREEMAN, United States Magistrate Judge:

       In this action under the Fair Labor Standards Act and the New York Labor Law, which is

before this Court on the consent of the parties pursuant to 28 U.S.C. § 636(c), the parties, having

reached an agreement in principle to resolve the action, have placed their proposed settlement

agreement before the Court for approval. See Cheeks v. Freeport Pancake House, Inc., 796 F.3d

1999 (2d Cir. 2015) (requiring judicial fairness review of FLSA settlements). The parties have

also submitted two letters to the Court – first, a letter dated November 13, 2020 (Dkt. 18),

explaining why they believe the proposed settlement agreement is fair, reasonable, and adequate,

and, second, following a conference held by the Court at which it raised certain concerns about

the parties’ initial proposal, a letter dated December 9, 2020 (Dkt. 20), confirming (1) that the

parties have agreed that the proposed settlement agreement can be modified by the Court’s

striking of the confidentiality provision contained therein, (2) that the parties wish to request that

the Court retain jurisdiction for purposes of enforcing the settlement agreement, if necessary, and

(3) that, if the Court were to approve the settlement of Plaintiff’s claims, then appearing

defendants Diacron USA, LLC (“Diacron”), Ludovico Bongini (“Bongini”), and Richard Nava

(“Nava”) would consent to the dismissal without prejudice of the cross-claims asserted by

Diacron against non-appearing co-defendant Andreas Anrather (“Anrather”) (the
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“Cross-Claims”), for lack of subject matter jurisdiction. The Court has reviewed the parties’

submissions in order to determine whether the proposed agreement (Dkt. 18-1), as modified by

the parties’ subsequent letter, represents a reasonable compromise of the claims and

counterclaims asserted in this action, and, in light of the totality of the relevant circumstances,

including the representations made in the parties’ letters, the terms of the proposed modified

settlement agreement, and the Court’s general familiarity with this action and its procedural

history, it is hereby ORDERED that:

       1.       The Court finds that the terms of the proposed settlement agreement, as modified

by the Court, with the parties’ consent, to strike the confidentiality provision contained in

paragraph 8 of the agreement (see Dkt. 20; Dkt. 18-1), are fair, reasonable, and adequate, both to

redress Plaintiff’s claims in this action and to compensate Plaintiff’s counsel for their legal fees,

and the agreement is therefore approved.

       2.       As the parties have now requested that the Court retain jurisdiction over this

action for purposes of enforcement of the agreement (see Dkt. 20), and so as to effectuate the

parties’ intent, this Court will retain jurisdiction over this matter for the purpose of enforcing the

settlement agreement.

       3.       As a result of the Court’s approval of the parties’ executed settlement agreement,

Plaintiff’s claims in this action, as well as any asserted counterclaims, are hereby discontinued

with prejudice and without costs or fees to any party. The Court declines to retain supplemental

jurisdiction over the Cross-Claims that have been asserted by defendant Diacron against

co-defendant Anrather, and the Cross-Claims are therefore dismissed without prejudice. Given




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that all claims asserted herein are dismissed, the Clerk of Court is directed to close this case on

the Docket of the Court.

Dated: New York, New York
       December 29, 2020

                                                      SO ORDERED


                                                      ________________________________
                                                      DEBRA FREEMAN
                                                      United States Magistrate Judge

Copies to:

All counsel (via ECF)




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